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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


B-5, INC. and B&T INDUSTRIES, L.L.C.,         )
                                              )
                          Plaintiffs,         )
                                              )          Case No. 2:17-cv-02080-JAR-GLR
  v.                                          )
                                              )
MODULAR EVOLUTION, LLC,                       )
                                              )
                        Defendant.            )


                              REVISED SCHEDULING ORDER


                      SUMMARY OF DEADLINES AND SETTINGS

                                Event                     Deadline/Setting
              Fact Discovery Deadline                 August 31, 2018
              Expert Discovery Deadline               September 28, 2018
              Expert Report                           July 31, 2018
              Rebuttal Report                         August 31, 2018
              Dispositive Motions                     November 30, 2018
              Proposed Pretrial Order                 October 31, 2018
                                                      November 7, 2018 at
              Final Pretrial Conference
                                                      2:15 p.m.
              Motions to Exclude Expert Testimony     January 29, 2019
              Jury Trial – ETT 5 Days                 July 30, 2019 at 9 a.m.



   1. Plan for Discovery. The parties jointly propose the following discovery plan:

       a.    Fact discovery will be commenced or served in time to be completed by August
             31, 2018.

       b.    Expert discovery deadline is September 28, 2018.
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b.    The parties intend to serve disclosures and discovery electronically, as permitted
      by D. Kan. Rules 5.4.2 and 26.3.

c.    The parties do not currently have any discovery issues that require the Court’s
      attention.

d.    Disclosure or discovery of electronically stored information (ESI) will be handled
      in accordance with the Federal Rules of Civil Procedure and this Court’s ESI
      guidelines.

e.    Discovery is needed on the following specific subjects:

      i.     Design of the accused device.
      ii.    Efforts to design around the ‘693 Patent.
      iii.   Infringement/non-infringement opinions.
      iv.    Sales records for the accused device.

f.    The court has already entered a protective order that addresses claims of privilege
      and protection as trial-preparation material asserted after production.

g.    To encourage cooperation, efficiency, and economy in discovery, and also to limit
      discovery disputes, the court adopts as its order the following procedures agreed to
      by parties and counsel in this case:

                       1) Discovery disputes will be resolved with a phone call between
                          lead counsel.
                       2) Documents will be produced on a rolling basis.
                       3) Exhibits will be numbered sequentially.

h.    There will be a maximum of 25 interrogatories, including all discrete subparts,
      served by any party on another party.

i.    There will be a maximum of 100 requests for admissions, including all discrete
      subparts, served by any party on another party.

j.    There will be a maximum of 10 depositions taken by plaintiffs and 10 by defendant.

k.    Each deposition will be limited to 7.5 hours.

l.    Disclosures required by Fed. R. Civ. P. 26(a)(2), including reports from retained
      experts, will be served by plaintiffs by July 31, 2018 and by defendant by August
      31, 2018. Rebuttal reports are due August 31, 2018.

m.    The parties agree that physical or mental examinations pursuant Fed. R. Civ. P. 35
      are not appropriate in this case.

n.    Supplementations of disclosures under Fed. R. Civ. P. 26(e) will be served at such
      times and under such circumstances as required by that rule.
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       o.     The Court has already entered a protective order in this case (Doc. 16.)

       p.     The parties do consent to electronic service of disclosures and discovery requests
              and responses. See Fed. R. Civ. P. 5(b) and D. Kan. Rules 5.4.2(e) and 26.3.

   2. Deadlines for Dispositive Motions.

       a.     All other potentially dispositive motions will be filed by November 30, 2018.

       b.     All motions to exclude testimony of expert witnesses pursuant to Fed. R. Evid. 702-
              705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), Kumho
              Tire Co. v. Carmichael, 526 U.S. 137 (1999), or similar case law, will be filed by
              January 29, 2019.

   3. Other Items.

       a.     The parties agree that principles of comparative fault do not apply to this case.

       b.     The parties do not request a status conference before the pretrial conference.

       c.     A pretrial conference is set for November 7, 2018, at 2:15 p.m. On or before
              October 31, 2018, counsel shall provide the Court with their proposed pretrial order.
              They shall not file it. The pretrial conference will be conducted by telephone.
              Counsel and any pro se parties should call 1-888-363-4749, access number
              8533057, for the conference.

       Note: The court generally schedules a pretrial conference approximately 2-3 weeks
             after the close of discovery and approximately 2-4 weeks before the
             dispositive-motion deadline. If the case remains at issue after all timely filed
             dispositive motions have been filed and decided (or if the parties announce that
             no dispositive motions will be filed), then the trial judge usually will conduct
             another pretrial conference within 30 days of trial.

       d.     The case is scheduled for jury trial on July 30, 2019 at 9 a.m. in Kansas City,
              Kansas before Judge Robinson. Trial is expected to take approximately 5 days.




Date: July 11, 2018

                                                            S/ Gerald L. Rushfelt
                                                            Gerald L. Rushfelt
                                                            U.S. Magistrate Judge
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